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                 IN THE UNITED STATES DISTRICT FOR THE
                      EASTERN DISTRICT OF TEXAS,
                           SHERMAN DIVISION

   JASON LEE VAN DYKE,             §
       Plaintiff,                  §
   v.                              §
                                   §
   THOMAS CHRISTOPHER              §                         NO. 4:18-CV-247-ALM
   RETZLAFF, a/k/a DEAN            §
   ANDERSON, d/b/a BV FILES, VIA   §
   VIEW FILES, L.L.C., and VIAVIEW §
   FILES,                          §
        Defendants                 §

         RETZLAFF’S OPPOSITION TO PLAINTIFF’S “MOTION FOR ORAL
                             EXAMINATION”

          Retzlaff files this response in opposition to plaintiff’s “motion for oral

   examination concerning defendant’s invocation of his first and fifth amendment

   privilege.” (Doc. 164.)

                             I. ARGUMENT & AUTHORITIES

          1.     Van Dyke employs a material misrepresentation of fact as the

   predicate for his unusual request for a special hearing to “orally examine” Retzlaff

   regarding privilege:

          In this case, [Retzlaff] has asserted a blanket Fifth Amendment
          privilege with respect to nearly every one of [Van Dyke’s]
          interrogatories and requests for production.

   Motion, ¶ 11 (emphasis added), citing U.S. v. Roundtree, 420 F.2d 845, 852 (5th

   Cir. 1969). A “blanket” assertion of privilege has been likened to “a conjurer’s

   circle [drawn] around the whole matter by [a taxpayer’s] own declaration that to

   write any word on a government blank would bring him into danger of the law.”
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   See, e.g., U.S. v. Sullivan, 274 U.S. 259, 264 (1927) (Holmes, J.), cited with

   approval in Roundtree, 420 F.2d at 852, n.17. But inspection of Van Dyke’s own

   exhibits reveals Retzlaff did no such thing. (Doc. 164-4, 164-5.)

              2.          Retzlaff asserted both privileges and non-privilege-based objections

   to each individual discovery request, as were individually applicable to each. For

   example, Retzlaff asserted:

              (i)         no privilege at all to some requests;

              (ii)        the Fifth amendment privilege against self-incrimination to certain
                          requests; and

              (iii)       the First Amendment’s protection of the identities of anonymous
                          speakers to certain other requests.1

   This is precisely the opposite of a “blanket assertion” of privilege.

              3.          Furthermore, Van Dyke relies exclusively on decades-old tax

   cases—in which a hearing was already being conducted—to argue that the Court

   in the case at bar must convene a special hearing to “orally examine” Retzlaff

   regarding responses to written discovery. Van Dyke leaves the Court to wonder

   what attenuated relevance these tax cases involving proceedings under §§ 7402(b)

   and 7604 of the IRS Code of 1954 have to the case at bar. There appears to be

   none at all. If there is any, Van Dyke has failed to explain it.

              4.          For example, the issue addressed in Roundtree was:



              1
                   Although Van Dyke lumps the well-settled First Amendment right of speakers to
   remain anonymous into the same category as the Fifth Amendment privilege against self-
   incrimination, Van Dyke cites no authority for this one-size-fits-all treatment. Retzlaff has found
   none.

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              This appeal canvasses often-discussed issues concerning a summons of
              the Internal Revenue Service: What showing must the IRS make to
              enforce a summons against a taxpayer?

   Roundtree, 420 F.2d 846-47. Roundtree had appeared at the IRS offices pursuant

   to a summons and “refused to testify or produce his records.” Id. at 847. The IRS

   petitioned for a court order to enforce the summons pursuant to Internal Revenue

   Code §§ 7402(b) and 7604. Id. At the hearing on a show-cause order, Roundtree

   again asserted his Fifth Amendment rights.                                             Id., at 848.   The court held

   Roundtree’s “blanket refusal” to produce tax records was improper and ordered

   him to “present himself with his records for questioning.” Id. at 852. But there

   was no convocation of some special hearing to “orally examine” Roundtree

   regarding discovery answers, as Van Dyke seems disingenuously to suggest. Id.,

   at 846-47. In fact, to the contrary, the court concluded:

              The district court may … determine by reviewing Roundtree’s
              records and by considering each question whether, in each instance,
              the claim of self-incrimination is well-founded.

   Id., at 852; see also In re Roundtree v. U.S. and Hall, 1970 WL 22850 at *1 (IRS

   AOD 1970). So, too, here.

              Linking the taxpayer’s right to plead self-incrimination with whether
              the investigation was solely for the purpose of securing evidence for
              criminal prosecution is also erroneous.

   In re Roundtree v. U.S. and Hall, 1970 WL 22850 at *1 (IRS AOD 1970)

   [emphasis added]. Roundtree could hardly be less apposite to the case at bar.

   Neither could Van Dyke’s other cited cases.




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              5.          In fact, some—like Roundtree—militate against the very special

   “oral examination” that Van Dyke requests. For example:

              Thus, a practice has developed whereby, outside the presence of the
              jury, the witness will allude in very general, circumstantial terms to
              the reasons why he feels he might be incriminated by answering a
              given question. The judge examines him only far enough to determine
              whether there is reasonable ground to apprehend danger to the
              witness from his being compelled to answer. If the danger might exist,
              the court must uphold the privilege without requiring the witness to
              demonstrate that a response would incriminate him, the latter inquiry
              being barred by the privilege itself.

   See, e.g., U.S. v. Melchor Moreno, 536 F.2d 1042, 1046 (5th Cir. 1976). Melchor

   is obviously describing an examination during the ordinary course of a criminal

   trial, not some specially-convened, court-ordered inquisition regarding a party’s

   written discovery responses. The Melchor court admonishes:

              To sustain the privilege, it need only be evident from the implications
              of the question, in the setting in which it is asked, that a responsive
              answer to the question or an explanation of why it cannot be
              answered might be dangerous because injurious disclosure could
              result.

   Melchor, 536 F.2d at 1046, citing Hoffman v. U.S., 341 U.S. 479, 486 (1951).

   “[I]f the witness were required to prove the hazard in the sense in which a claim is

   usually required to be established in court, he would be compelled to surrender the

   very protection which the privilege is designed to guarantee.” Id.

              6.          Van Dyke cites no authority supporting his motion that the Court

   conduct a special “oral examination” of Retzlaff to validate Retzlaff’s assertions

   of privilege to interrogatories or requests for production. The Court can easily

   determine this by examining the requests to which Retzlaff asserts privilege.


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                                                 II. CONCLUSION & PRAYER

              7.          Because Van Dyke fails to cite any authority supporting his request

   for a special “oral examination” to determine whether Retzlaff’s apprehension of

   criminal prosecution is legitimate, the Court should deny Van Dyke’s motion

   (Doc. 164) and grant Retzlaff such other and further relief, at law or in equity, as

   to which Retzlaff shall show himself justly entitled.

   Respectfully submitted,



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                                              CERTIFICATE OF SERVICE

          I certify that on         5-10       , 2020, the foregoing was electronically filed
   using the Court’s CM/ECF filing system, which will provide notice and a copy of this
   document to the following if a registered ECF filer in the United States District Court for
   the Eastern District of Texas, Sherman Division.

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